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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

CONSUMER FINANCIAL PROTECTION                    :
BUREAU,                                          :
                                                 :
                         Plaintiff,              :
                                                 :
v.                                               :           C.A. No. 17-1323 (MN)
                                                 :
THE NATIONAL COLLEGIATE MASTER                   :
STUDENT LOAN TRUST et al.,                       :
                                                 :       Public Version Filed March 19, 2020
                         Defendants.             :


          DECLARATION OF ERIK HAAS IN SUPPORT OF INTERVENORS’
     CONSOLIDATED ANSWERING BRIEF TO PLAINTIFF’S MOTION TO APPROVE
                   THE PROPOSED CONSENT JUDGMENT


I, ERIK HAAS, declare as follows:

        1.    I am a member of the law firm of Patterson Belknap Webb & Tyler LLP, counsel

for Ambac Assurance Corp. (“Ambac”) in the above-captioned action. I submit this Declaration

in support of the Intervenors’ Consolidated Answering Brief to Plaintiff’s Motion to Approve the

Proposed Consent Judgment.

        2.    Attached as Exhibit 1 is a true and correct copy of the Trust Agreement for The

National Collegiate Student Loan Trust 2006-4.

        3.    Attached as Exhibit 2 is a true and correct copy of the Administration Agreement

for The National Collegiate Student Loan Trust 2006-4.

        4.    Attached as Exhibit 3 is a true and correct copy of the Indenture for The National

Collegiate Student Loan Trust 2006-4.

        5.    Attached as Exhibit 4 is a true and correct copy of an email and attachment from

Roberta Boland, of McCarter & English, to Carolyn Hahn, of the CFPB, dated August 3, 2017.



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        6.    Attached as Exhibit 5 is a true and correct copy of the Indenture for The National

Collegiate Student Loan Trust 2007-4.

        7.    Attached as Exhibit 6 is a true and correct copy of the Trust Agreement for The

National Collegiate Student Loan Trust 2007-4.

        8.    Attached as Exhibit 7 is a true and correct copy of the Administration Agreement

for The National Collegiate Student Loan Trust 2007-4.

        9.    Attached as Exhibit 8 is a true and correct copy of the Insurance & Indemnity

Agreement for The National Collegiate Student Loan Trust 2007-4.

        10.   Attached as Exhibit 9 is a true and correct copy of the Order entered on May 14,

2018 in the action captioned KBC Financial Prods. v. VCG Special Opportunities Fund LP, et al.,

Case No. 502012-CA-006891 (Fl. 15th Cir.).

        11.   Attached as Exhibit 10 is a true and correct copy of the document entitled

“Videotape Deposition of Jorge Rodriguez-Lugo” containing a transcript of the deposition of Jorge

Rodriguez-Lugo of VCG Securities LLC, held on February 11, 2020.

        12.   Attached as Exhibit 11 is a true and correct copy of the Affidavit of Donald S.

Uderitz dated September 12, 2016, filed in the action captioned National Collegiate Student Loan

Master Trust, et al. v. Pennsylvania Higher Education Assistance Agency, No. 12111-VCS (Del.

Ch.).

        13.   Attached as Exhibit 12 is a true and correct copy of the document entitled

“Deposition of James A. Kosch” containing an excerpt of the deposition taken on May 8, 2017 in

the action captioned KBC Financial Prods. v. VCG Special Opportunities Fund LP, et al., Case

No. 502012-CA-006891 (Fl. 15th Cir.).




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       14.    Attached as Exhibit 13 is a true and correct copy of an email from James Kosch,

of McCarter & English, to Jim Sabella, of Grant & Eisenhofer, dated October 4, 2016.

       15.    Attached as Exhibit 14 is a true and correct copy of the document entitled

“Deposition of Lance Gotthoffer” containing a transcript of the deposition of Lance Gotthoffer of

Chaitman LLP, held on February 12, 2020.

       16.    Attached as Exhibit 15 is a true and correct copy of the Trust Agreement for The

National Collegiate Master Student Loan Trust I.

       17.    Attached as Exhibit 16 is a true and correct copy of the document entitled

“Videotape Deposition of Donald Uderitz” containing a transcript of the deposition of Donald

Uderitz of VCG Securities LLC, dated February 5, 2020.

       18.    Attached as Exhibit 17 is a true and correct copy of an email chain involving Don

Uderitz, of VCG Securities LLC, dated November 30, 2015.

       19.    Attached as Exhibit 18 is a true and correct copy of a November 13, 2014 Letter

from NC OWNERS LLC and SL Resid Holdings LLC to Wilmington Trust Company entitled

Authorization and Direction Letter.

       20.    Attached as Exhibit 19 is a true and correct copy of a December 29, 2014 letter

from NC OWNERS LLC to Wilmington Trust Company entitled “Authorization and Direction

Letter.”

       21.    Attached as Exhibit 20 is a true and correct copy of an email and attachment from

Geoffrey N. Rosamond, of McCarter & English, dated March 13, 2017.

       22.    Attached as Exhibit 21 is a true and correct copy of the document entitled Servicing

Agreement, dated December 30, 2014, executed by Donald Uderitz on behalf of Odyssey

Education Resources LLC.



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       23.     Attached as Exhibit 22 is a true and correct copy of the document entitled

“Declaration of Donald Uderitz In Support of the Motion By the Respondent Trusts for Summary

Judgment” filed in the action captioned In the Matter of the National Collegiate Student Loan

Trusts, et al., Index No. 16-341 (D. Del.).

       24.     Attached as Exhibit 23 is a true and correct copy of an email from Jorge Rodriguez-

Lugo, of VCG Securities LLC, to Lance Gotthoffer, of Chaitman LLP, dated June 1, 2016.

       25.     Attached as Exhibit 24 is a true and correct copy of the document entitled

“Transcript of Non-Jury Trial Proceedings” containing a transcript of the proceedings held on

February 23, 2018 in the action captioned KBC Financial Prods. v. VCG Special Opportunities

Fund LP, et al., Case No. 502012-CA-006891 (Fl. 15th Cir.).

       26.     Attached as Exhibit 25 is a true and correct copy of the document entitled

“Response to Notice and Opportunity to Respond and Advise National Collegiate Student Loan

Trusts” dated May 31, 2016.

       27.     Attached as Exhibit 26 is a true and correct copy of an October 29, 2015 letter from

NC OWNERS LLC to Wilmington Trust Company entitled “Authorization and Direction Letter.”

       28.     Attached as Exhibit 27 is a true and correct copy of the Chaitman LLP engagement

letter dated October 12, 2015.

       29.     Attached as Exhibit 28 is a true and correct copy of the document entitled

“Transcript of Proceedings” containing a transcript of the deposition of Dorri Costello of

Wilmington Trust Company, held on January 1, 2020.

       30.     Attached as Exhibit 29 is a true and correct copy of an email from Don Uderitz of

VCG Securities LLC, dated November 2, 2015.




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       31.    Attached as Exhibit 30 is a true and correct copy of an email from Wes Peterson

of Richards, Layton & Finger P.A., dated November 2, 2015.

       32.    Attached as Exhibit 31 is a true and correct copy of an email and attachments from

Dorri Costello of Wilmington Trust Company, dated November 3, 2015.

       33.    Attached as Exhibit 32 is a true and correct copy of an email chain involving

Ronald Rudolph of Citibank, dated November 3, 2015.

       34.    Attached as Exhibit 33 is a true and correct copy of the document entitled

“Videotaped deposition of James Kosch” containing a transcript of the deposition of James Kosch

of McCarter & English, held on January 8, 2020.

       35.    Attached as Exhibit 34 is a true and correct copy of the McCarter & English LLP

engagement letter dated March 6, 2016.

       36.    Attached as Exhibit 35 is a true and correct copy of an email from Edward Keefe

of the CFPB, dated May 9, 2016.

       37.    Attached as Exhibit 36 is a true and correct copy of an email and attachments from

Edward Keefe of the CFPB, dated May 16, 2016.

       38.    Attached as Exhibit 37 is a true and correct copy of an email chain involving Robert

Mintz and other McCarter & English attorneys, dated May 15, 2016.

       39.    Attached as Exhibit 38 is a true and correct copy of an email chain involving

Donald Uderitz of VCG Securities LLC, dated January 3, 2017.

       40.    Attached as Exhibit 39 is a true and correct copy of an email chain involving Jorge

Rodriguez-Lugo of VCG Securities LLC, dated December 28, 2016.

       41.    Attached as Exhibit 40 is a true and correct copy of an email from James A. Kosch

of McCarter & English, dated December 23, 2016.



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       42.     Attached as Exhibit 41 is a true and correct copy of an email from James A. Kosch

of McCarter & English, dated January 5, 2017.

       43.     Attached as Exhibit 42 is a true and correct copy of an email from James A. Kosch

of McCarter & English, dated February 27, 2017.

       44.     Attached as Exhibit 43 is a true and correct copy of a document entitled “Summary

of 2/16/17 Meeting with Consumer Financial Protection Bureau” dated February 21, 2017.

       45.     Attached as Exhibit 44 is a true and correct copy of an email chain involving Jorge

Rodriguez-Lugo of VCG Securities LLC, dated April 23, 2017.

       46.     Attached as Exhibit 45 is a true and correct copy of invoices from McCarter &

English LLP.

       47.     Attached as Exhibit 46 is a true and correct copy of an email and attachment from

James A. Kosch of McCarter & English, dated March 21, 2017.

       48.     Attached as Exhibit 47 is a true and correct copy of an email from James A. Kosch

of McCarter & English, dated February 27, 2017.

       49.     Attached as Exhibit 48 is a true and correct copy of an email from Jorge Rodriguez-

Lugo of VCG Securities LLC, dated April 18, 2017.

       50.     Attached as Exhibit 49 is a true and correct copy of an email and attachment

entitled “20170420 CFPB NCSLT Draft Consent Order” from Carolyn Hahn of the CFPB, dated

April 20, 2017.

       51.     Attached as Exhibit 50 is a true and correct copy of an email and attachment

entitled “Draft Consent Order CFPB NCSLT” from Roberta Boland of McCarter & English, dated

May 9, 2017.




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       52.    Attached as Exhibit 51 is a true and correct copy of an email from Lance

Gotthoffer, of Chaitman LLP, to Helen Chaitman, of Chaitman LLP, dated July 31, 2017.

       53.    Attached as Exhibit 52 is a true and correct copy of an email from Don Uderitz of

VCG Securities LLC, dated May 16, 2017.

       54.    Attached as Exhibit 53 is a true and correct copy of an email chain involving James

A. Kosch of McCarter & English, dated March 20, 2017.

       55.    Attached as Exhibit 54 is a true and correct copy of an email chain involving Jorge

Rodriguez-Lugo of VCG Securities LLC and James A. Kosch of McCarter & English, dated May

5, 2017.

       56.    Attached as Exhibit 55 is a true and correct copy an email and attachments from

Carolyn Hahn of the CFPB, dated August 3, 2017.

       57.    Attached as Exhibit 56 is a true and correct copy of an email from Lance Gotthoffer

to James A. Kosch dated September 6, 2017.

       58.    Attached as Exhibit 57 is a true and correct copy of an email chain involving

Donald Uderitz of VCG Securities LLC and James A. Kosch of McCarter & English, dated August

3, 2017.

       59.    Attached as Exhibit 58 is a true and correct copy of an email chain involving Nick

Caggiano of Morris James LLP, dated July 7, 2017.

       60.    Attached as Exhibit 59 is a true and correct copy of an email from Lance Gotthoffer

of Chaitman LLP, dated July 11, 2017.

       61.    Attached as Exhibit 60 is a true and correct copy of an email chain involving Don

Uderitz and Jorge Rodriguez-Lugo of VCG Securities LLC, dated June 13, 2017.




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       62.    Attached as Exhibit 61 is a true and correct copy of an email chain involving James

A. Kosch of McCarter & English, dated June 27, 2017.

       63.    Attached as Exhibit 62 is a true and correct copy of an email from James A. Kosch

of McCarter & English, dated September 6, 2017.

       64.    Attached as Exhibit 63 is a true and correct copy of an email chain involving Lance

Gotthoffer of Chaitman LLP, dated July 17, 2017.

       65.    Attached as Exhibit 64 is a true and correct copy of an email chain involving James

A. Kosch of McCarter & English, dated June 22, 2017.

       66.    Attached as Exhibit 65 is a true and correct copy of an email from Carolyn Hahn

of the CFPB, dated June 21, 2017.

       67.    Attached as Exhibit 66 is a true and correct copy of an email from Carolyn Hahn

of the CFPB, dated June 22, 2017.

       68.    Attached as Exhibit 67 is a true and correct copy of an email chain involving

Geoffrey Rosamond of McCarter & English, dated August 3, 2017.

       69.    Attached as Exhibit 68 is a true and correct copy of an email chain involving Nick

Caggiano of Morris James LLP, dated June 1, 2016.

       70.    Attached as Exhibit 69 is a true and correct copy of an email from Don Uderitz of

VCG Securities LLC, dated May 4, 2017.

       71.    Attached as Exhibit 70 is a true and correct copy of an email chain involving Jorge

Rodriguez-Lugo of VCG Securities LLC, dated June 27, 2019.

       72.    Attached as Exhibit 71 is a true and correct copy of an email from James A. Kosch

of McCarter & English, dated July 7, 2017.




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       73.    Attached as Exhibit 72 is a true and correct copy of a document entitled “Notice of

Resignation of Owner Trustee” dated July 20, 2017.

       74.    Attached as Exhibit 73 is a true and correct copy of an email from Don Uderitz of

VCG Securities LLC, dated July 24, 2017.

       75.    Attached as Exhibit 74 is a true and correct copy of an email chain involving James

A. Kosch of McCarter & English, dated July 19, 2017.

       76.    Attached as Exhibit 75 is a true and correct copy of an email and attachment from

James A. Kosch of McCarter & English, dated July 27, 2017.

       77.    Attached as Exhibit 76 is a true and correct copy of an email and attachments from

James A. Kosch of McCarter & English, dated August 31, 2017.

       78.    Attached as Exhibit 77 is a true and correct copy of an email chain involving James

A. Kosch of McCarter & English and Ed Keefe of the CFPB, dated September 7, 2017.

       79.    Attached as Exhibit 78 is a true and correct copy of an email chain involving James

A. Kosch of McCarter & English, dated September 6, 2017.

       80.    Attached as Exhibit 79 is a true and correct copy of the document entitled “Opening

Brief in Support of the Owners’ Exception to Special Master Order No. 1” filed on June 28, 2019

in the action captioned National Collegiate Student Loan Master Trust, et al. v. Pennsylvania

Higher Education Assistance Agency, No. 12111-VCS (Del. Ch.).

       81.    Attached as Exhibit 80 is a true and correct copy of an email from James A. Kosch

of McCarter & English, dated May 4, 2017.

       82.    Attached as Exhibit 81 is a true and correct copy of the Indenture for The National

Collegiate Master Student Loan Trust I.




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         83.    Attached as Exhibit 82 is a true and correct copy of an email from Don Uderitz of

VCG Securities LLC, dated June 22, 2017.

         84.    Attached as Exhibit 83 is a true and correct copy of an email from Jorge Rodriguez-

Lugo of VCG Securities LLC, dated April 21, 2017.

         85.    Attached as Exhibit 84 is a true and correct copy of an email from Jorge Rodriguez-

Lugo of VCG Securities LLC, dated June 16, 2017.

         86.    Attached as Exhibit 85 is a true and correct copy of an email from Jorge Rodriguez-

Lugo of VCG Securities LLC, dated June 15, 2017.

         87.    Attached as Exhibit 86 is a true and correct copy of an email from Jorge Rodriguez-

Lugo of VCG Securities LLC, dated July 19, 2017.

         88.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.



Dated:    March 12, 2020
          New York, New York




                                                                Erik Haas




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